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EXHIBIT 9

CaSe 2217-CV-10623-DPH-DRG ECF NO. 14-10 filed 03/31/17 Page|D.Z?G Page 2 013

A_l A
®utside Legei Counsel
v“b v

Correspondence from Philip L. Ellison, MBA, .lD, Esq
Business Counselor & Attorney ct l_ow
pellison@olcplc.com

MARCH 15, 2017
sE/\/T v/A EMA/L (W/coPY BY us MA/L)

Robert C, Davis, Attorney at Law
Davis Burket Savage Listman Taylor
10 S. lVlain St, Suite 401

Nlt Clemens, l\lll 48043

rdavis@dbattorneys.com

Re: Request for Your Disqualification to Serve as Counsel

Meyers v Village of 0xford
*MIED Case No.: 17-cv-10623

Dear lVlr. Davis:

This morning, l received the electronic filing of your appearance on behalf of all
defendants for the above-referenced case. As you know, the l\llichigan Rules of
Professional Conduct applies to the conduct of our affairs. ln this case, you have
been named a party-defendant and, as l have previously indicated, you are a
necessary witness in this case and cannot serve as counsel. llllRPC 3.7
commands that “a lawyer shall not act as advocate at a trial in which the lawyer

is liker to be a necessary witness.” Federal courts routinely apply MRPC 3.7 as t

a basis to disqualify an attorney who is likely to be a witness and disqualify the
firm by the imputation rule, NlRPC 1.10. See e.g. A/eynu, lnc. v. Universal Prop.
Dev. and Acquisition Corp, 564 F.Supp.Zd 751 (2008).

Here, it is far more than mere ‘likely’ that you are a necessary witness. You were
at the disputed January 2017 meeting; you are on video actively and
passionately participating You likely wrote the motion that President Bossardet
utilized. You spoke and acted on behalf of the Village Council both at the
January 2017 meeting and by your letter of January 13, 2017. You responded
and acted on behalf of the Village in not providing a name clearing hearing Your
actions are inexplicitly intertwined with the facts that give rise to the current
cause of action. As such, you cannot be counsel for _al_l defendants under l\/lRPC
3.7. l do not dispute, however, that you can be your own counsel should you

desire to do so.

To that end, l request you withdraw as counsel of all defendants, except
yourself, to avoid the on-going violation of lVlRPC 3.7. l am willing to supply the
other defendants with needed time to obtain new counsel from an outside tirm. lf
you fail to do so, l will be filing a motion with Chief Judge Denise Page Hood.

Please confirm your intent, in writing, to withdraw by Friday, l\llarch 17, 2017.

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Re: Request for Your Disquolii"lcotion to Serve os Counsel

Meyers v Villdg_e of Oxiord

M|ED Ccise No.: l7-c:v~10623

Mdrch 15, 2017

Poge 2

Best regards,

ppgme

Philip L. E|lison, MBA, JD, Esq.
Attorney at Law

CC: Client File
Clients

____M_____
Outside Legcxl Counsel
W

